         Case 3:16-cv-01345-AWT Document 282 Filed 12/04/20 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,
                                                        Civil Action No. 3:16-cv-01345-AWT
       Plaintiffs,
                                                        Hon. Alvin W. Thompson
v.

YALE UNIVERSITY et al.,

       Defendants.

         DEFENDANTS’ MOTION TO PROVISIONALLY SEAL PORTIONS OF
             THEIR SUMMARY JUDGMENT AND DAUBERT PAPERS

        Pursuant to Local Rule 5(e) and paragraph 14 of the Standing Protective Order entered by

the Court in this matter (Dkt. 11), Defendants Yale University, Michael A. Peel, and the Fiduciary

Committee on Investments (collectively, “Yale”) move to provisionally seal portions of the

memoranda in support of Defendants’ Motion For Summary Judgment and Motions To Exclude

Plaintiffs’ Experts, as well as certain supporting documents submitted in support on those motions.

As set forth in Local Rule 5(e)(4)(a), Yale is contemporaneously filing (1) this motion; (2) public,

redacted copies of each document sought to be sealed; and (3) non-public, unredacted copies of

each document sought to be sealed.1

        1.      Yale is filing a motion for summary judgment and three motions to exclude

Plaintiffs’ putative experts. In the Second Circuit, “documents submitted to a court for its

consideration in a summary judgment motion are—as a matter of law—judicial documents to

which a strong presumption of access attaches.” Lugosch III v. Pyramid Co. of Onondaga, 435



1
  The public copies of the documents are being filed as exhibits to the Declaration of Brian D. Netter in
Support of Defendants’ Motion for Summary Judgment and Motions to Exclude Plaintiffs’ Expert
Witnesses; the public (redacted) copies of the memoranda are being filed separately on the docket. The
non-public copies of the documents are being filed as exhibits to the sealed Declaration of Brian D. Netter
in Support of Defendants’ Motion to Seal. The non-public copies of the memoranda are being filed
separately under seal on the docket.


                                                    1
         Case 3:16-cv-01345-AWT Document 282 Filed 12/04/20 Page 2 of 5




F.3d 110, 121 (2d Cir. 2006). The same is true of documents submitted in connection with motions

to exclude experts. E.g., Louis Vuitton Malletier S.A. v. Sunny Merchandise Corp., 97 F. Supp. 3d

485, 511-12 (S.D.N.Y. 2015) (finding that “expert reports that were the subject of the Daubert

motion in this case” are “judicial documents, and the public interest in each is high”).

       2.      To justify filing judicial documents associated with such motions under seal, a court

must “articulate specific and substantial reasons for sealing [the] material.” Brown v. Maxwell, 929

F.3d 41, 50 (2d Cir. 2019); see also Lugosch, 435 F.3d at 124 (requiring “specific, on-the-record

filings that sealing is necessary to preserve higher values and only if the sealing order is narrowly

tailored to achieve that aim”).

       3.      Plaintiffs have informed Yale that they believe it would be “unfair” for their expert

reports or depositions transcripts to be filed publicly because those materials rely on discovery

material produced by Yale and third parties and designated as confidential. Therefore, Plaintiffs

contend that the following reports and depositions should be filed under seal in their entirety, with

no public access:

    Ex. 1, Expert Report of Daniel Alexander           Ex. 9, Expert Report of Al Otto
                                                         (excerpted)
    Ex. 2, Rebuttal Report of Daniel
     Alexander                                          Ex. 11, Deposition of Daniel Alexander
                                                         (excerpted)
    Ex. 3, Expert Report of Dr. Gerald
     Buetow                                             Ex. 12, Deposition of Dr. Gerald Buetow
                                                         (excerpted)
    Ex. 5, Expert Report of Wendy
     Dominguez                                          Ex. 13, Deposition of Wendy Dominguez
                                                         (excerpted)
    Ex. 6, Rebuttal Report of Wendy
     Dominguez                                          Ex. 14, Deposition of Ty Minnich
                                                         (excerpted)
    Ex. 7, Expert Report of Ty Minnich
                                                        Ex. 15, Deposition of Al Otto (excerpted)
    Ex. 8, Rebuttal Report of Ty Minnich




                                                 2
         Case 3:16-cv-01345-AWT Document 282 Filed 12/04/20 Page 3 of 5




Yale believes that Plaintiffs’ position is flatly contrary to Lugosch and to this Court’s requirement

that sealing be supported by “clear and compelling reasons” and be “narrowly tailored to serve

those reasons.” Local Rule 5(e)(3). See also, e.g., Travelers Indem. Co. v. Excalibur Reins. Co.,

2013 WL 4012772, at *3 (D. Conn. Aug. 5, 2013) (“blanket sealing of entire documents or all

documents within a case is generally disfavored”); Jadwalean Int’l Co. For Operations & Mgmt

v. United Tech Corp., 2009 WL 1064495, at * 1 (D. Conn. April 17, 2009) (court must determine

whether to seal “on the basis of a careful, document-by-document review of the particular portions

of the document that a party wishes to be kept under seal and after considering whether the

requested order is no broader than necessary to serve the interests that require protection”).

       Because Plaintiffs claim that none of the material can be filed publicly absent a blanket

waiver over all underlying documents relied upon by their experts, however, Yale is moving to

provisionally seal the foregoing documents so that Plaintiffs can make whatever arguments they

think appropriate in response to the motion. Yale reserves the right to oppose sealing of any of the

documents, in whole or in part, in its reply.

       4.      TIAA and Aon have informed Yale that they believe that there is good cause to file

some or all of the following documents under seal.

    Ex. 28, Deposition of David Swallow                Ex. 82, TIAA_YALE_00076813 (email)
     (excerpted)
                                                        Ex. 83, TIAA_YALE_00093625 (non-
    Ex. 46, YALE00087197 (Aon                           plan products spreadsheet)
     presentation)
                                                        Ex. 111, Dec. 1, 2020 Declaration of
    Ex. 72, Aon-Yale-049435 (email)                     E. Craig Porter

    Ex. 73, TIAA_YALE_00014595 (2018                   Ex. 113, Consolidated Meeting
     amendment to recordkeeping agreement)               MinutesEx. 119, YALE00244166 (2019
                                                         amendment to recordkeeping agreement)
    Ex. 76, TIAA_YALE_00059633 (email)

Accordingly, Yale is filing these materials provisionally under seal.



                                                 3
         Case 3:16-cv-01345-AWT Document 282 Filed 12/04/20 Page 4 of 5




       5.      Yale is filing public versions of its memoranda, expert reports, and Local Rule 56.1

statement with provisional redactions to avoid quoting or disclosing specific information about the

foregoing documents while this motion is pending. If the Court determines that some or all of the

provisionally sealed materials should be made public, Yale will prepare new public versions of its

filings to reflect those changes.



Dated: December 4, 2020                             Respectfully submitted,

Nancy G. Ross (ct14373)                             /s/ Brian D. Netter
James C. Williams (ct23292)                         Brian D. Netter (phv08476)
Richard E. Nowak (phv09930)                            bnetter@mayerbrown.com
MAYER BROWN LLP                                     Michelle N. Webster (phv08475)
71 South Wacker Drive                               MAYER BROWN LLP
Chicago, Illinois 60606-4637                        1999 K Street NW
Telephone: (312) 782-0600                           Washington, DC 20006-1101
Facsimile: (312) 701-7711                           Telephone: (202) 263-3000
                                                    Facsimile: (202) 263-3300

                                    Attorneys for Defendants




                                                4
        Case 3:16-cv-01345-AWT Document 282 Filed 12/04/20 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that, on December 4, 2020, a copy of the foregoing was filed electronically

using the Court’s CM/ECF system, which will provide notice of the filing to all counsel of record.

                                                   By:    /s/ Brian D. Netter
                                                         Brian D. Netter
